                    IN THE UNITED STATES BANKRUPTCY COURT
                NORTHERN DISTRICT OF ALABAMA, NORTHERN DIVISION

    IN RE:                                           )
                                                     )
    HARRIS FARMS, LLC,1                              ) CASE NO. 17-81562-CRJ12
    EIN: XX-XXX8466                                  ) CHAPTER 12
                                                     )
         Debtor.                                     ) (Jointly Administered)


                     DEBTORS’ MOTION TO MODIFY CONFIRMED PLAN

          COME NOW Debtors, Harris Farms, LLC (“Farms”) and Harris Turf, Inc. (“Turf”), as

debtors and debtors-in-possession (cumulatively “Debtors”), and move the Court to modify the

confirmed Plan (the “Plan”) as set forth in this Motion. In support of this Motion Debtors state as

follows:

          1.       Debtors’ filed their Fourth Amended Plan on February 26, 2019 [Doc 271].

          2.       Debtors provided for the following secured classified claims in the Plan as follows:

          Class 1(b): AGCO Finance LLC. This class consists entirely of the secured claim of
          AGCO Finance LLC whose claim is secured by one (1) Sunflower 6631-27 Vertical Tillage
          S6631OEZVRT165.

          Class 1(e): First Jackson Bank This class consists entirely of the secured claim of First
          Jackson Bank whose claim is secured by the following: one (1) 2010 John Deere Bush
          Hog, Model CX15, Serial CX15FO7990; one (1) 1998 Case IH Combine, Model 2188,
          Serial 185197; one (1) 2006 Case IH Header, Model 1020, Serial 258004; one (1) 2007
          Case IH Header, Model 1083, Serial C06000BN; one (1) 2000 Wilson Hopper Trailer, VIN
          1W1MCF1A5YB231095; one (1) 2004 Case IH Disk, Model 3950, Serial JAG0753620;
          and the proceeds from the sale of all of the above.

          Class 1(h): FNB Bank. This class consists entirely of the secured claim no. 21 of FNB
          Bank whose claim is secured by the following: one (1) 2011 Valley Center Pivot, Serial
          10908672; one (1) 2004 John Deere 6700 Spray Rig Serial N06700X010076; one (1) John
          Deere CX15 Brush Hog, Serial CX15FO7990; one (1) Case IH 1020 Header, Serial
          258004; 1999 Valley Center Pivot, Serial 10018142; one (1) 2011 Unverferth Ripper 130,
          Serial AXXXXXXXX; one (1) Case IH Planter, Serial YAS008548; one (1) 2007 Case IH


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    In addition to Harris Farms, LLC, the debtors include the following: Harris Turf, Inc.; Case No.
     17-81563-CRJ12.



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       Header, Model 1083, Serial C06000BN; one (1) 2000 Wilson Hopper Trailer, VIN
       1W1MCF1AOYA230930; one (1) 2007 John Deere Skid Steer CT332, VIN
       TO332TA127040; one (1) 2003 John Deere 6615 w/ Loader, Serial B393172; one (1) 2010
       Athens Disk, Serial K10366; one (1) 2010 Case IH Planter, Serial YAS008548; and one
       (1) A & L Grain Cart, Serial 163474.

       Class 1(i): FNB Bank. This class consists entirely of the secured claim no. 22 of FNB
       Bank whose claim is secured by the following: one (1) 1989 Case IH 2188 Combine, Serial
       195779; one (1) Cashe IH Soybean Header, Serial 330558; one (1) 2011 Valley Center
       Pivot, Serial 10908672, 1999 Valley Center Pivot, Serial 10018142; one (1) 2011
       Unverferth Ripper 130, Serial AXXXXXXXX; and one (1) Chevy Silverado VIN
       2GCEK13V971136168.

       Class 1(j): Upfront Holdings. This class consists entirely of the secured claim of Upfront
       Holdings whose claim is secured by the following: a second (2nd) position security interest
       (subject to the 1st lien position granted to Lender by Borrower) in one (1) 1975 Allis
       Chalmers Tractor, Serial 70802371; one (1)Case IH Disk, Model 3950, Serial DA3950392;
       one (1) 2010 John Deere CX15 Bush Hog, Serial CX15FO79902004; one (1) 2007 John
       Deere Skid Steer CT332, VIN TO332TA127040; one (1) 1998 Case IH Combine, Model
       2188, Serial 185197; one (1) 2006 Case IH, Model 1020 Header, Serial 258004; one (1)
       2004 Case IH Header, Model 1083, Serial 823DJ1; one (1) 2010 Hurricane Ditcher HC26,
       Serial 5187; one (1) 2001 Kuhn Tiller HR 3001, Serial A204; one (1) 1999 Rhino Blade
       950, Serial 12705; one (1) 2012 John Deere Gator 8251, Serial 028624; one (1) 1998
       Tufline Landscape Box, Serial 10496; one (1) 2005 Ford F450 Truck; one (1) 1991
       Chevrolet 2500 Truck; one (1) 2007 Chevrolet Silverado Truck; one (1) Freightliner Truck
       FLD120; one (1) 2000 Wilson Hopper Trailer; and one (1) Belshe Trailer DT22 2EP—a
       third (3rd) position mortgage security interest in real property known as 138 Autumn
       Spring Drive, Gurley, AL 35748—a second (2nd) lien position on all crops planted and to
       be harvested.

       3.        Debtors’ Plan was confirmed by order of this Court on March 8, 2018

(the “Confirmation Order”)[Doc 214].

       4.        Subsequent to entry of the Confirmation Order, the principals of the Debtors sold

their residence, thereby paying off one of secured classified creditors in the Plan, Upfront

Holdings, Inc.

       5.        Therefore, Class 1(j) should be deleted from the Plan as having been paid in full:

       Class 1(j): Upfront Holdings. a second (2nd) position security interest (subject to the 1st
       lien position granted to Lender by Borrower) in one (1) 1975 Allis Chalmers Tractor, Serial
       70802371; one (1)Case IH Disk, Model 3950, Serial DA3950392; one (1) 2010 John Deere
       CX15 Bush Hog, Serial CX15FO79902004; one (1) 2007 John Deere Skid Steer CT332,

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       VIN TO332TA127040; one (1) 1998 Case IH Combine, Model 2188, Serial 185197; one
       (1) 2006 Case IH, Model 1020 Header, Serial 258004; one (1) 2004 Case IH Header, Model
       1083, Serial 823DJ1; one (1) 2010 Hurricane Ditcher HC26, Serial 5187; one (1) 2001
       Kuhn Tiller HR 3001, Serial A204; one (1) 1999 Rhino Blade 950, Serial 12705; one (1)
       2012 John Deere Gator 8251, Serial 028624; one (1) 1998 Tufline Landscape Box, Serial
       10496; one (1) 2005 Ford F450 Truck; one (1) 1991 Chevrolet 2500 Truck; one (1) 2007
       Chevrolet Silverado Truck; one (1) Freightliner Truck FLD120; one (1) 2000 Wilson
       Hopper Trailer; and one (1) Belshe Trailer DT22 2EP—a third (3rd) position mortgage
       security interest in real property known as 138 Autumn Spring Drive, Gurley, AL 35748—
       a second (2nd) lien position on all crops planted and to be harvested.

       6.      Further, subsequent to entry of the Confirmation Order, the Debtors were unable to

fund the planting of row crops, and have decided they can proceed most profitably with focusing

solely on sod farming.

       7.      Upon modification of the Plan, Debtors are prepared to surrender the following

collateral from each of the listed Classes as follows:

       Class 1(b): AGCO Finance LLC.               one (1) Sunflower 6631-27 Vertical Tillage
       S6631OEZVRT165.

       Class 1(e): First Jackson Bank: one (1) 2010 John Deere Bush Hog, Model CX15, Serial
       CX15FO7990; one (1) 1998 Case IH Combine, Model 2188, Serial 185197; one (1) 2006
       Case IH Header, Model 1020, Serial 258004; one (1) 2007 Case IH Header, Model 1083,
       Serial C06000BN; and one (1) 2004 Case IH Disk, Model 3950, Serial JAG0753620.

       Class 1(h): FNB Bank. one (1) 2004 John Deere 6700 Spray Rig Serial N06700X010076;
       one (1) John Deere CX15 Brush Hog, Serial CX15FO7990; one (1) Case IH 1020 Header,
       Serial 258004; one (1) 2011 Unverferth Ripper 130, Serial AXXXXXXXX; one (1) Case IH
       Planter, Serial YAS008548; one (1) 2007 Case IH Header, Model 1083, Serial C06000BN;
       one (1) 2007 John Deere Skid Steer CT332, VIN TO332TA127040; one (1) 2003 John
       Deere 6615 w/ Loader, Serial B393172; one (1) 2010 Athens Disk, Serial K10366; one (1)
       2010 Case IH Planter, Serial YAS008548; and one (1) A & L Grain Cart, Serial 163474.

       Class 1(i): FNB Bank. one (1) 1989 Case IH 2188 Combine, Serial 195779; one (1) Cashe
       IH Soybean Header, Serial 330558; one (1) 2011 Valley Center Pivot, Serial 10908672,
       1999 Valley Center Pivot, Serial 10018142; one (1) 2011 Unverferth Ripper 130, Serial
       AXXXXXXXX; and one (1) Chevy Silverado VIN 2GCEK13V971136168.

       Each creditor should be permitted to liquidate their collateral and be given 60 days
       to amend their respective claims to reflect any deficiency to paid through the
       unsecured class.



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       8.      Based on the forgoing, the Classified Claims of Debtors’ Plan should be modified

to remove Classes 1(b),1(i) and 1(j). Additionally, Classes 1(e) and 1(h) in the Plan should be

modified to remove the collateral surrendered by the Debtors, and will be reamortized as follows:

       Class 1(e):     First Jackson Bank. As of May 23, 2017, Debtor owes First Jackson Bank
       the approximate sum of $15,000.00 which is secured by the following: one (1) 2000
       Wilson Hopper Trailer, VIN 1W1MCF1A5YB231095. The Debtor will pay First
       Jackson Bank its allowed secured claim over the course of forty-eight (48) months, which
       includes interest at the rate of 6%. Payments shall continue for the remaining term
       of the Plan and shall continue until the debt owed to First Jackson Bank is paid in
       full. First Jackson Bank shall retain its lien upon this collateral until its debt is paid in full
       at which time the Debtor may file the appropriate termination statements. The estimated
       payment shall be $352.28 per month. This payment will be made by the Trustee. The
       Creditor shall retain its lien to the extent of its allowed secured claim.

       Class 1(h):     FNB Bank. As of May 23, 2017, Debtor owes FNB Bank the approximate
       sum of $65,000.00 which is secured by the following: one (1) 2011 Valley Center Pivot,
       Serial 10908672; 1999 Valley Center Pivot, Serial 10018142; and one (1) 2000 Wilson
       Hopper Trailer, VIN 1W1MCF1AOYA230930. The Debtor will pay FNB Bank its
       allowed secured claim over the course of forty-eight (48) months, which includes
       interest at the rate of 6%. Payments shall continue for the remaining term of the Plan
       until the debt owed to FNB Bank is paid in full. FNB Bank shall retain its lien upon this
       collateral until its debt is paid in full at which time the Debtor may file the appropriate
       termination statements. The estimated payment shall be $1,526.53 per month. This
       payment will be made by the Trustee. The Creditor shall retain its lien to the extent of its
       allowed secured claim.

       9.      The monthly Plan payments to the Trustee will be approximately $13,253.71.

       WHEREFORE, premises considered, Debtors pray that this Court modify the Plan as

provided above and for such other and further relief as may be just and proper.

       Respectfully submitted on April 8, 2019.

                                                                /s/ Stuart M. Maples
                                                                STUART M. MAPLES
                                                                (ABS-1974-S69S)

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                                 CERTIFICATE OF SERVICE

        I do hereby certify that on April 8, 2019, a copy of the foregoing document was served on
the following by Electronic Case Filing a copy of the same.

Richard Blythe
Bankruptcy Administrator
richard_blythe@alnba.uscourts.gov

Tazewell Shepard
Chapter 12 Trustee
taze@ssmattorneys.com

All parties requesting notice
All parties on the creditor matrix

                                                           /s/ Stuart M. Maples
                                                           STUART M. MAPLES




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Label Matrix for local noticing        Citizens Community Bank                 FNB BANK
1126-8                                 c/o Jeffrey L. Cook                     1535 SOUTH BROAD STREET
Case 17-81562-CRJ12                    P, O. Box 5585                          SCOTTSBORO, AL 35768-2608
NORTHERN DISTRICT OF ALABAMA           Huntsville, AL 35814-5585
Decatur
Mon Apr 8 12:40:34 CDT 2019
First Jackson Bank                     Harris Farms, LLC                       Helena chemical Company
c/o James T. Baxter III, Esq.          2008 Gurley Pike                        c/o Frank E. Bankston, Jr.
P.O. Box 165                           Gurley, AL 35748-9279                   P.O. Box 239
Huntsville, AL 35804-0165                                                      Montgomery, AL 36101-0239


Madison County Cooperative, Inc.       Stephens Appraisal Services, LLC        Upfront Holding, LLC
c/o Chad W. Ayres                      203 Eastside Square, Ste 2              403 Andrew Jackson Way
P. O. Box 2168                         Huntsville, AL 35801-8818               Huntsville, AL 35801-3631
Huntsville, AL 35804-2168


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PO Box 2000                            C/O BECKET AND LEE LLP                  PO Box 650448
Johnston, IA 50131-0020                PO BOX 3001                             Dallas, TX 75265-0448
                                       MALVERN PA 19355-0701


CNH Industrial Capital Ameria, LLC     CNH Industrial Capital America LLC      Capital One
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New Holland, PA 17604-3600                                                     City of Industry, CA 91716-0599



Capital One                            Citizens Community Bank                 Darrin K. Isbell
PO Box 60599                           1418 Dinah Shore Blvd.                  1333 Salty Bottom jRd.
North Hollywood, CA 91616              Winchester, TN 37398-1112               Madison, AL 35758



FNB                                    FNB                                     Farm Credit Services of America, PCA, servic
206 South First Street                 402 Broad St.                           c/o S. Dagnel Rowe, Wilmer & Lee, P.A.
Pulaski, TN 38478                      Scottsboro, AL 35768-1706               Huntsville, AL 35801



Frank Smith, Jr.                       Helena Chemical Company                 Herbert H. Bowden
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Internal Revenue Service               John Deere Financial                    John Deere Financial, f.s.b.
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Philadelphia, PA 19101-7346            Johnston, IA 50131-6600

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Joyce White Vance                                      Kubota Credit Corporation                            Kubota Credit Corporation
US Attorney General                                    PO Box 2046                                          PO Box 9013
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Birmingham, AL 35203-2101


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US Dept. of Justice                                    Alabama Attorney General                             100 Northside Square, Room 116
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Washington, DC 20530-0009                              Montgomery, AL 36130-0152


Madison County Cooperative                             Madison County Cooperative, Inc.                     Mike Bean
PO Box 68                                              483 Jack Thomas Road                                 5116 Colemont Lane
Hazel Green, AL 35750-0068                             Toney, AL 35773-8534                                 Huntsville, AL 35811-1004



Monsanto Company                                       PHI Financial Services, Inc.                         PHI Financial Services, Inc.
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P.O. Box 2189                                          Johnston, IA 50131-9411                              P.O. Box 2189
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State of Alabama                                       Tim McCarrell                                        Douglas Richie Harris
Department of Revenue Legal Division                   2511 Aberdeen Rd.                                    138 Autumn Spring Drive
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Montgomery, AL 36132-0001


Richard M Blythe                                       Stuart M Maples                                      Stuart M Maples
United States Bankruptcy Administrator                 Maples Law Firm                                      Maples Law Firm, PC
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Tazewell Shepard
Tazewell Shepard, Trustee
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Huntsville, AL 35804-9045




                   The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Farm Credit Services of America, PCA, serv          (d)First Jackson Bank                                (d)Upfront Holding, LLC
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                                                       Huntsville, AL 35804-0165


(u)Darrin Isbell                                       End of Label Matrix
                                                       Mailable recipients    48
                                                       Bypassed recipients     4
                                                       Total                  52

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